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                            UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA

 UNITED STATES OF AMERICA

    v.                                               Case No. 23-CR-427 & 24-CR-238 (DLF)

 DAN WILSON,

      Defendant.

           UNITED STATES’ RESPONSE TO DEFENDANT’S MOTION
     FOR STAY OF ANY ORDER PERTAINING TO RELEASE FROM CUSTODY

         The United States of America, by and through its attorney, the United States Attorney for

the District of Columbia, respectfully submits this motion in response to the defendant’s motion

for a stay of any order pertaining to release from custody (ECF 100, 23-CR-427) and the Court’s

related January 27, 2025 Minute Order. The government does not oppose the defendant’s motion

for a stay of any order to take the defendant back into custody or require the defendant to turn

himself in to the Bureau of Prisons on these charges at this time.

                                                       Respectfully submitted,

                                                       EDWARD R. MARTIN, JR.
                                                       United States Attorney
                                                       D.C. Bar No. 481866


                                                       ____________/S/_______
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